    Case 1:20-cv-03010-APM         Document 1194-12         Filed 03/23/25     Page 1 of 1




                               CERTIFICATE OF SERVICE

       I hereby certify that on March 20, 2025, the foregoing Joint Status Report Regarding

Discovery Dispute was filed electronically under seal using the CM/ECF system and distributed

electronically to the counsel of record identified in the Amended Case Management Order

entered in this case on February 3, 2021 (ECF Nos. 108-1 and 141).



Dated: March 20, 2025                        By:    /s/ Karl E. Herrmann
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